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Exhibit
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RANDAZZA nt
LEGAL GROUP

June 26, 2015

Via Email Only
<vgurvits@bostonlawgroup.com>

Val Gurvits

Boston Law Group, P.C.
825 Beacon St., Suite 20
Newton Centre, MA 02459

Re: AMA Multimedia, LLC adv. Borjan Solutions S.L. et al. — Arbitrator Selection
Dear Val:

Since we last spoke, AMA Multimedia, LLC (“AMA”) has been researching and vetting
potential arbitrators located in the State of Nevada. After a thorough search, we believe
that the following 3 potential arbitrators are not only qualified to adjudicate the dispute
between AMA and your clients but also show no discernable bias for or against
intellectual property owners over alleged infringers. Any thoughts that you have with
regard to the following individuals are appreciated.

1. The Honorable Philip Pro: As you know, we have previously proposed Judge Pro
as the arbitrator for this matter, and your client rejected him. We ask that you
reconsider. Judge Pro served on the Nevada federal bench for nearly 3 decades.
In that time, he rightly gained a reputation as one of the smartest and fairest
judges to preside over a Nevada court. Your issue with Judge Pro was apparently
that he did not have the “necessary IP background to properly understand this
dispute." However, that is simply not true. Judge Pro has presided over dozens of
intellectual property cases more complex than this and has never shown any
favoritism to plaintiffs or defendants. If your objection to Judge Pro is that both
Mare and | have appeared before him, please let us know. However, to suggest
that he is unqualified is not a well-founded objection.

2. Ara Shirinian: If Judge Pro is unacceptable to your client and you, we also suggest
and would be comfortable with Ara Shirinian, whose biography can be found at
<arashirinianmediation.com>. Mr. Shirinian has an excellent reputation in Nevada
as a fair arbitrator and mediator. Neither Marc nor | have appeared before Mr.
Shirinian before. He is willing to work with the parties on the applicable rules that
will apply to the dispute and regarding the discovery schedule. By way of full
disclosure, | had a short conversation with Mr. Shirinian about this matter earlier
this week, but we discussed nothing of substance. | invite you to contact him and
have a brief conversation with him before agreeing that he would be an
appropriate arbitrator for this matter.

3625 South Town Center Drive, Las Vegas, Nevada 89135
rdg@randazza.com =| 702.420.2001
LAS VEGAS | MIAMI | PHILADELPHIA [| SAN FRANCISCO
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Arbitrator Selection RANDAZZA
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3. Joseph Bongiovi: Finally, as with Mr. Shirinian, Joe Bongiovi is one of the most

respected and utilized arbitrators in the State of Nevada. His website is located at
<bongiovi.com>. He has presided over thousands of arbitrations and mediations
and is equally respected by plaintiffs’ and defendants’ counsel in the state. Mr.
Bongiovi is knowledgeable and qualified to handle a wide range of matters. |
have not spoken with Mr. Bongiovi regarding this matter. However, if you would
like to speak with him to get a better idea as to whether he is suitable to preside
over this dispute, | would certainly invite you to do so.

It is our hope that the parties can agree upon an acceptable arbitrator quickly so that
we might get this matter resolved for both of our clients. Given that the parties’
settlement agreement requires that arbitration occur in Nevada, we do not feel that it
makes sense to retain an arbitrator located out-of-state. There are several qualified
arbitrators in southern Nevada, and it will be more cost-effective for both of our clients to
retain someone that already lives here.

Please approve one of these individuals by Friday, July 3, 2015. If you have any
questions, please feel free to contact me at your convenience.

Sincerely,

Ronald D. Green oh
